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                            IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Richmond Division


IN RE: VIRGINIA DEPARTMENT
OF CORRECTIONS


       Petitioner,

V.                                                                 Civil Action No. 3:17mc02


RICHARD JORDAN and
RICKY CHASE,          a/.

       Respondents.
                                  MEMORANDUM OPINION


       This matter comes before the Court on the Motion to Quash the third-party Notice of

Deposition and Subpoena issued inJordan v. Fisher, (S.D. Miss.).' Neither party requested a
hearing on the matter. For the reasons that follow, the Motion to Quash will be GRANTED to

the extent it seeks information beyond that already disclosed.

                               1. Pertinent Procedural Background


       Mississippi sentenced Richard Jordan and Ricky Chase to death. Mississippi proposes to

execute Jordan and Chase by the serial intravenous injection of three drugs: midazolam,

vecuronium bromide, and potassium chloride. Jordan and Chase ("Plaintiffs") filed a civil rights

action under 42U.S.C. § 1983^ asserting that execution under the above protocol violates the


       ' Jordan v. Fisher, 3:15-CV-295-HTW-LRA (S.D. Miss.)

       ^That statute provides, inpertinent part:
               Every person who, under color of any statute ... of any State ... subjects,
       or causes to be subjected, any citizen of the United States or other person within
       the jurisdiction thereof to the deprivation of any rights, privileges, or immunities
       secured by the Constitution and laws, shall be liable to the party injured in an
       action at law....


42 U.S.C. § 1983.
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